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                                      MINUTES


 CASE NUMBER:            CRIMINAL NO. 17-00101-1 LEK
 CASE NAME:              USA vs. (01) Anthony T. Williams
 ATTYS FOR PLA:          Gregg Paris Yates
                         Kenneth M. Sorenson
 ATTYS FOR DEFT:         Anthony T. Williams, Pro se
                         Lars R. Isaacson (Stand-by)

      JUDGE:       Leslie E. Kobayashi           REPORTER:      Debra Read

      DATE:    2/6/2020                    TIME:          08:30 AM - 2:00 PM
                                        th
COURT ACTION: EP: Further Jury Trial - 4 day as to Defendant (01) Anthony T.
Williams held.

Defendant (01) Anthony T. Williams present in custody.

Preliminary issues discussed out of the presence of the Jury.

12 Jurors and 2 Alternates present.

Government Witnesses:
2) Joseph Lavelle (C, RD)
3) Loreen Troxel (D, C, RD)
4) Bryce Oleski (D, C, RD)
5) Julita Asuncion (D, C, RD)
6) Iris Ikeda (D, C, RD)
7) Mary Jean Castillo (D, )

Defendant Witnesses:
1) Joseph Lavelle (D, C)
2) Loreen Troxel (D, C, RD)
3) Julita Asuncion (D, C)

Government’s Exhibits Admitted:
200-209, 806, 409, 605, 606, 802,

Defendant’s Exhibits Admitted:
2114 (pages 2114-007, 2114-008), 2040, 2148

Defendant (01) Anthony T. Williams remanded to the Custody of the U.S. Marshal
Service.
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Further Jury Trial-Day 5, SET for February 10, 2020 at 8:30 a.m. before Honorable
Leslie E. Kobayashi.


Submitted by: Agalelei Elkington, Courtroom Manager
